Case 1:21-cv-12987-TLL-PTM ECF No. 34, PageID.1877 Filed 09/18/23 Page 1 of 13




                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF MICHIGAN

RALPH STRANO, individually and on
behalf of all others similarly situated,        Case No. 21-cv-12987-TLL-PTM

               Plaintiff,                       Hon. Thomas L. Ludington

        v.

KIPLINGER WASHINGTON EDITORS,
INC.,

               Defendant.


             SUPPLEMENTAL DECLARATION OF RYAN BAHRY REGARDING
                            REVISED CAFA NOTICE

I, RYAN BAHRY, declare and state as follows:

        1.     I am a Director at JND Legal Administration (“JND”).             JND is a legal

administration service provider with its headquarters located in Seattle, Washington. JND has

extensive experience with all aspects of legal administration and has administered settlements in

hundreds of class action cases.

        2.     JND is serving as the Settlement Administrator1 in the above-captioned litigation

(“Action”), for the purposes of administering the Class Action Settlement Agreement

(“Settlement Agreement”), preliminarily approved by the Court in its Opinion and Order (1)

Granting Plaintiffs’ Motion for Preliminary Approval of Settlement, (2) Certifying Settlement

Class, (3) Appointing Class Representative, (4) Appointing Class Counsel, (5) Approving Notice

Plan, (6) Appointing Claims Administrator, (7) Directing Publication of Notice, and (8) Setting

Scheduling Order, dated January 6, 2023 (“Order”).


1
  Capitalized terms used and not otherwise defined herein shall have the meanings given such
terms in the Class Action Settlement Agreement (“Settlement Agreement”).

                                                1
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       3.      This Supplemental Declaration is meant to supplement my previous declaration

dated May 19, 2023 (the “Declaration”). This Supplemental Declaration is based on my

personal knowledge and information provided to me by experienced JND employees and, if

called on to do so, I could and would testify competently thereto.

                                  REVISED CAFA NOTICE

       4.      As detailed in the Declaration, JND mailed a CD-ROM to comply with the Class

Action Fairness Act (“CAFA”) 28 U.S.C. § 1715 on July 18, 2022. On June 6, 2023, the Court

ordered JND to disseminate revised CAFA notice to the appropriate government officials (in its

“Order Adjourning Final Approval Hearing and Directing Notice”). In order to comply with the

Court, JND compiled a CD-ROM with the following documents in accordance with CAFA:

                     a. Class Action Complaint, filed December 22, 2021;

                     b. First Amended Class Action Complaint, filed February 18, 2022;

                     c. Plaintiff’s Unopposed Motion for Preliminary Approval of Class Action

                         Settlement, filed July 8, 2022;

                     d. Class Action Settlement Agreement, filed July 8, 2022;

                     e. E-mail Notice, filed July 8, 2022;

                     f. Postcard Notice, filed July 8, 2022;

                     g. Long Form Notice, filed July 8, 2022;

                     h. Claim Form for Unidentified Class Members, filed on July 8, 2022;

                     i. Opinion and Order Denying Without Prejudice Plaintiff’s Motion for

                         Preliminary Approval of Settlement, entered December 15, 2022;

                     j. Plaintiff’s Revised Unopposed Motion for Preliminary Approval of

                         Class Action Settlement, filed December 21, 2022;


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                     k. Opinion and Order (1) Granting Plaintiffs’ Motion for Preliminary

                         Approval of Settlement, (2) Certifying Settlement Class, (3) Appointing

                         Class Representative, (4) Appointing Class Counsel, (5) Approving

                         Notice Plan, (6) Appointing Claims Administrator, (7) Directing

                         Publication of Notice, and (8) Setting Scheduling Order, entered on

                         January 6, 2023;

                     l. Plaintiff’s Unopposed Motion for Attorneys’ Fees, Costs, Expenses, and

                         Service Award, filed on April 10, 2023;

                     m. Plaintiff’s Unopposed Motion for Final Approval of Class Action

                         Settlement, filed on May 22, 2023;

                     n. Order Adjourning Final Approval Hearing and Directing Notice, entered

                         on June 6, 2023;

                     o. List of Class Members by State; and

                     p. Proportionate Share of Class Members by State.

       5.      The supplemental CD-ROM was mailed on June 9, 2023, to the appropriate

Federal and State officials identified in the attachment with an accompanying cover letter, a copy

of which is attached hereto as Exhibit A.

                                SETTLEMENT WEBSITE

       6.      As detailed in the Declaration, JND established a Settlement Website

(www.KiplingerSettlement.com) for this matter. On June 6, 2023, the Court ordered JND to

update the Settlement Website to reflect the new date and time of the Final Approval Hearing (in

its “Order Adjourning Final Approval Hearing and Directing Notice”). JND promptly updated the

date and time of the Final Approval Hearing in all applicable areas on the Settlement Website on


                                                3
  SUPPLEMENTAL DECLARATION OF RYAN BAHRY REGARDING REVISED CAFA NOTICE
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June 6, 2023. JND will continue to update and maintain the Settlement Website throughout the

administration process.



       I declare under penalty of perjury under the laws of the United States of America that the

 foregoing is true and correct.

       Executed September 11, 2023 in Seattle, Washington



                                                   ____________________________________
                                                    Ryan Bahry




                                               4
  SUPPLEMENTAL DECLARATION OF RYAN BAHRY REGARDING REVISED CAFA NOTICE
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             EXHIBIT A
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June 9, 2023

United States Attorney General
and the Appropriate Officials
Identified in Attachment A

RE: CAFA Notice of Proposed Class Action Settlement

Dear Sir or Madam:

This Notice is being provided to you in accordance with the Class Action Fairness Act (“CAFA”),
28 U.S.C. § 1715 on behalf of Kiplinger Washington Editors, Inc., the defendant in the below-
referenced class action (“the Action”). Plaintiff’s Unopposed Motion for Preliminary Approval of
Class Action Settlement was filed with the Court on July 8, 2022, and preliminary approval was
granted on January 6, 2023. The Court has scheduled a final approval hearing on October 5, 2023.

        Case Name:                   Strano v. Kiplinger Washington Editors, Inc.
        Case Number:                 21-cv-12987-TLL-PTM
        Jurisdiction:                United States District Court, Eastern District of Michigan
        Date Settlement filed        July 8, 2022
        with Court:

Copies of all materials filed in the above-named actions are electronically available on the Court’s
Pacer website found at https://pcl.uscourts.gov. Additionally, in compliance with
28 U.S.C. § 1715(b), the enclosed CD-ROM contains the following documents filed in the Action:

       01 - Complaint.pdf
              Class Action Complaint, filed December 22, 2021

       02 – Amended Complaint.pdf
              First Amended Class Action Complaint, filed February 18, 2022

       03 - Motion for Preliminary Approval.pdf
              Plaintiff’s Unopposed Motion for Preliminary Approval of Class Action Settlement,
              filed July 8, 2022

       04 – Settlement Agreement.pdf
              Class Action Settlement Agreement, filed on July 8, 2022

       05 – Email Notice.pdf
              Email Notice, filed on July 8, 2022

       06 – Postcard Notice.pdf
              Postcard Notice, filed on July 8, 2022

       07 – Long Form Notice.pdf
              Long Form Notice, filed on July 8, 2022


     CO • MN • NY • WA • DC      |     800.207.7160   |   INFO@JNDLA.COM     |   WWW.JNDLA.COM
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       08 – Claim Form.pdf
              Claim Form for Unidentified Class Members, filed on July 8, 2022

       09 – Order Denying Preliminary Approval.pdf
              Opinion and Order Denying Without Prejudice Plaintiff’s Motion for Preliminary
              Approval of Settlement, entered December 15, 2022

       10 – Revised Motion for Preliminary Approval.pdf
              Plaintiff’s Revised Unopposed Motion for Preliminary Approval of Class Action
              Settlement, filed December 21, 2022

       11 – Preliminary Approval Order.pdf
               Opinion and Order (1) Granting Plaintiffs’ Motion for Preliminary Approval of
               Settlement, (2) Certifying Settlement Class, (3) Appointing Class Representative, (4)
               Appointing Class Counsel, (5) Approving Notice Plan, (6) Appointing Claims
               Administrator, (7) Directing Publication of Notice, and (8) Setting Scheduling Order,
               entered on January 6, 2023

       12 – Fee Motion.pdf
              Plaintiff’s Unopposed Motion for Attorneys’ Fees, Costs, Expenses, and Service
              Award, filed on April 10, 2023

       13 – Final Approval Motion.pdf
               Plaintiff’s Unopposed Motion for Final Approval of Class Action Settlement, filed on
               May 22, 2023

       14 – Order Adjourning Hearing.pdf
              Order Adjourning Final Approval Hearing and Directing Notice, entered on June 6,
              2023

       15 – List of Class Members by State.pdf

       16 – Proportionate Share of Class Members by State.pdf

There are no other settlements or agreements made between Counsel for the parties related to the
class defined in the proposed settlement, and as of the date of this Notice, no Final Judgment or notice
of dismissal has been entered in this case.

If you have any questions regarding the details of the case and settlement, please contact Defense
Counsel’s representatives at:

       Walter E. Diercks
       Rubin, Winston, Diercks, Harris & Cooke, LLP
       1250 Connecticut Ave., NW, Suite 700
       Washington, DC 20036
       Phone: (202) 861-0870
       Email: wdiercks@rwdhc.com

For questions regarding this Notice, please contact JND at:
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        JND Class Action Administration
        1100 2nd Ave, Suite 300
        Seattle, WA 98101
        Phone: 800-207-7160

Regards,

JND Legal Administration

Encl.
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  Strano v. Kiplinger Washington Editors, Inc., Case No. 21-cv-12987-TLL-PTM (E.D. Mich.)
                         CAFA Notice – Attachment A – Service List

           Treg R. Taylor
                                                                   Steve Marshall
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                                                              Attorney General's Office
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                                                                501 Washington Ave
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      Anchorage, AK 99501


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                                                                      Kris Mayes
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                                                            Office of the Attorney General
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                                                                  Phoenix, AZ 85004
      Little Rock, AR 72201


        CAFA Coordinator                                             Phil Weiser
  Office of the Attorney General                           Office of the Attorney General
  Consumer Protection Section                              Ralph L. Carr Judicial Building
 455 Golden Gate Ave., Ste 11000                              1300 Broadway, 10th Fl
    San Francisco, CA 94102                                      Denver, CO 80203


                                                                  Kathy Jennings
           William Tong
                                                           Delaware Department of Justice
  Office of the Attorney General
                                                            Carvel State Office Building
         165 Capitol Ave
                                                                820 N French Street
       Hartford, CT 06106
                                                               Wilmington, DE 19801


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                                                                       Chris Carr
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                                                            Office of the Attorney General
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      Tallahassee, FL 32399


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Department of the Attorney General
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                                                            1305 E. Walnut Street Rm 109
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                                                                Des Moines, IA 50319


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         Raúl R. Labrador
                                                            Office of the Attorney General
  Office of the Attorney General
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          Boise, ID 83720
                                                                  Chicago, IL 60601
Case 1:21-cv-12987-TLL-PTM ECF No. 34, PageID.1886 Filed 09/18/23 Page 10 of 13
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                          CAFA Notice – Attachment A – Service List

             Todd Rokita                                             Kris W. Kobach
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 Indiana Government Center South                                    120 SW 10th Ave
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                                                                 Bismarck, ND 58505
Case 1:21-cv-12987-TLL-PTM ECF No. 34, PageID.1887 Filed 09/18/23 Page 11 of 13
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                          CAFA Notice – Attachment A – Service List

                                                                     John Formella
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Case 1:21-cv-12987-TLL-PTM ECF No. 34, PageID.1888 Filed 09/18/23 Page 12 of 13
   Strano v. Kiplinger Washington Editors, Inc., Case No. 21-cv-12987-TLL-PTM (E.D. Mich.)
                           CAFA Notice – Attachment A – Service List

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        Olympia, WA 98501                                         Madison, WI 53707



         Patrick Morrisey                                               Bridget Hill
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                                                                     Merrick Garland
           Brian Schwalb
                                                           Office of the U.S. Attorney General
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                                                               U.S. Department of Justice
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                                                               950 Pennsylvania Ave NW
      Washington, DC 20001
                                                                 Washington, DC 20530


 Fainu'ulelei Falefatu Ala’ilima-Utu                               Douglas B. Moylan
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Case 1:21-cv-12987-TLL-PTM ECF No. 34, PageID.1889 Filed 09/18/23 Page 13 of 13
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                          CAFA Notice – Attachment A – Service List

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